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TRULINCS 38360037 - DOBIE, LAVON - Unit: HAZ-J-B

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SUBJECT: ABEYANCE OF THE FILING OF DEPIERRE CLAIM cay 42017
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LA'VON DOBIE v. U.S. c pePury
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CASE # RWT-04-0235

NOW COMES THE DEFENDANT LA'VON DOBIE HUMBLY REQUESTING THAT THIS HONORABLE COURT ALLOW THE
FILING OF DEPIERRE CLAIM BE HELD IN ABEYANCE . DUE TO THE PRIOR SUBMISSIONS RELATIVE TO HER COUNT
1 CHARGE BEING VACATED/REMANDED TO THIS HONORABLE COURT FOR RESENTENCING AND THE DEFENDANTS
LEGAL RIGHT FILE A 2255.

IN DEPIERRE , THE COURT CREATED A NEW SUBSTANTIVE RULE THAT HELD THAT "COCAINE BASE" AS USED IN
THE STATUE INCLUDES ALL FORMS OF 'BASE COCAINE MEANING CRACK [PROCESSED WITH BAKING SODA],FREE
BASE [PROCESSED WITH AMMONIA] ANY OTHER 'BASE' FORM OF COCAINE, AS DISTINGUISHED FROM COCAINE
HYDROCHLORIDE [ THE TYPICAL POWER COCAINE COMPOSITION]. THEREFORE, GOING FORWARD A DISTRICT
COURT CAN ONLY CONSIDER A PENALTY ENHANCED BY SECTION 841(b)(1)(A)(iii) OF THE CONTROLLED
SUBSTANCE ACT OF 1987. INOTHER WORDS , DEPIERRE NARROWED THE SCOPE OF 21 U.S.C 841 BY
INTERPRETING THE TERM " COCAINE BASE" IN 21 U.S.C 841(b)(iii) TO DECRIMINALIZE CERTAIN INDIVIDUALS WHO
WOULD OTHERWISE HAVE BEEN AGGRAVATED VIOLATOR UNDER 841-- IT ALTERED THE CLASS OF PERSONS
THAT THE LAW PUNISHES" SEE SGHRIRO, U.S. AT 353 ,[THERE IS NO ISSUE OF RETROACTIVITY SEE, DIXON
v.MILLER 293 F. 3d 74,79(2nd CIR 2002]

THESE SUBSTANTIVE RULES ARE APPLIED RETROACTIVELY BECAUSE THEY " NECESSARILY CARRY A
SIGNIFICANT RISK THAT A DEFENDANT STANDS CONVICTED OF AN ACT THAT THE LAW DOES NOT MAKE A
CRIMINAL [OR] FACES A PUNISHMENT THAT THE LAW CANNOT IMPOSE UPON HIM ". SCHRIRO,542 U.S. AT 352.
[SEE SAFFLE v.PARKS,494 U.S.484,494[1990].

THE ONE YEAR WINDOW FOR THE FILING OF A DEPIERRE CLAIM IS QUICKLY CLOSING AS DEPIERRE WAS
DECIDED ON JUNE 9, 2011[SEE, DODD v. UNITED STATES,545 U.S. 353,354-55[2005] THEREFORE THE SAID
DEFENDANT HUMBLY ASK THAT THIS MOTION BE GRANTED AND THE TIME CLOCK BE STOPPED UNTIL ALL
RELAT"'= SUBMISSIONS RELATING TO DEFENDANTS APPEALS AND RESENTENCING IS COMPLETED.

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~ _LA' VON DOBIE #38360-037
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